                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                                     No. 3:06-CR-74-2BR

UNITED STATES OF AMERICA,                            )
                                                     )
               v.                                    )              ORDER
                                                     )
                                                     )
RICKY EDWARD GRAVES                                  )


       On 20 March 2007, defendant filed a motion to strike. Because this matter is set for trial on

2 April 2007, and in order for the court to promptly rule on this motion, the government shall file

its response, if any, to the motion by 5:00 p.m. 23 March 2007; no reply is permitted.

       This 21 March 2007.




                                             __________________________________
                                                   W. Earl Britt
                                                   Senior U.S. District Judge




      Case 3:06-cr-00074-WEB           Document 183        Filed 03/21/07      Page 1 of 1
